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 Counsel for Highland Capital Management, L.P.

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                  §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                  §
                                                  §
                                 Plaintiff,       § Adv. Proc. No. 21-03082-sgj
                                                  §
 vs.                                              §
                                                  § Case No. 3:21-cv-00881-X
 HIGHLAND CAPITAL MANAGEMENT                      §
 FUND ADVISORS, L.P.,                             §
                                                  §
                                                  §
                                 Defendant.       §
                                                  §


            RESPONSE TO HCMFA’S OBJECTION TO THE BANKRUPTCY
          COURT’S SUPPLEMENT TO REPORT AND RECOMMENDATION TO
              AWARD PLAINTIFF ITS ATTORNEYS’ FEES AND COSTS




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           Highland Capital Management, L.P., the reorganized debtor and plaintiff in the above-

captioned adversary proceeding (“Highland” or “Plaintiff”), hereby files this response (the

“Response”) to Highland Capital Management Fund Advisors, L.P.’s Objection to the Bankruptcy

Court’s Supplement to Report and Recommendation to Award Plaintiff Its Attorneys’ Fees and

Costs [Docket No. 98] 1 (the “Objection”).                       Highland fully incorporates by reference its

contemporaneously filed brief (the “Brief”) in opposition to the Objection and would show unto

the Court as follows:

                                             RELIEF REQUESTED 2

                    1.       By this Response, Highland respectfully requests that the Court enter an

order overruling the Objection and adopting the Bankruptcy Court’s Supplemental R&R.

                    2.       Pursuant to Rules 7.1(d) and (h) of the Local Civil Rules of the United States

District Court for the Northern District of Texas, Dallas Division (the “Local Rules”), the Brief is

being filed contemporaneously with this Response and is incorporated by reference.

                                                       PRAYER

           WHEREFORE, Highland respectfully requests that the Court (i) overrule the Objection,

(ii) adopt the Bankruptcy Court’s Supplemental R&R, and (iii) grant such other and further relief

as the Court deems just and proper.




1
    Citations to “Docket No. __” refer to entries on the docket maintained in this Court.
2
    Capitalized terms shall have the meanings ascribed to them in the Brief.


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 Dated: February 14, 2023      PACHULSKI STANG ZIEHL & JONES LLP

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